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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


United States of America,                           Criminal No. 09-349(2) (DWF/SER)

                    Plaintiff,

v.                                                                 MEMORANDUM
                                                              OPINION AND ORDER
Mark S. Sutton,

                    Defendant.



Robert M. Lewis, Assistant United States Attorney, United States Attorney’s Office,
counsel for Plaintiff.

Mark S. Sutton, Pro Se, Defendant.



                                  INTRODUCTION

      This matter is before the Court on Defendant Mark S. Sutton’s (“Defendant”)

Motion for Stay of Confinement (Doc. No. 193). The United States of America (the

“Government”) opposes Defendant’s motion. (Doc. No. 195.) For the reasons set forth

below, the Court denies Defendant’s motion.

                                     BACKGROUND

      On November 17, 2009, a grand jury in the District of Minnesota returned an

Indictment against Defendant charging him with the following counts: (1) Conspiracy to

Commit Mail Fraud and Wire Fraud, in violation of 18 U.S.C. § 1349; (2) Money

Laundering Conspiracy, in violation of 18 U.S.C. § 1956(h); and (3) Conspiracy to
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Defraud the United States, in violation of 18 U.S.C. § 371. (Doc. No. 1.) On October 20,

2010, a jury found Defendant guilty of all three counts. (Doc. No. 124.) On June 9,

2011, this Court sentenced Defendant to a total prison term of 42 months, to be followed

by a three-year period of supervised release; the Court entered its sentencing judgment on

June 15, 2011. (Doc. Nos. 172 & 174.) Defendant did not appeal his conviction to the

Eighth Circuit. On April 12, 2013, the Court entered an Amended Judgment that reduced

its restitution order; Defendant’s term of imprisonment, however, remained unchanged.

(Doc. No. 187.)

       On November 7, 2013, the Clerk of Court received and filed Defendant’s pro se

motion for a stay of confinement. (Doc. No. 193.) Thereafter, counsel for the

Government submitted an opposition brief. (Doc. No. 195.)

       In his motion, Defendant seeks his “immediate release” from the custody of the

Bureau of Prisons. (See Doc. No. 193 at 2.) To the extent Defendant may challenge his

sentence or custodial status, the Court construes the motion as a motion to vacate, set

aside, or correct Defendant’s sentence pursuant to 28 U.S.C. § 2255.

                                      DISCUSSION

I.     Defendant’s Motion

       Even assuming that Defendant filed his motion within the statutory one-year

period, Defendant has failed to raise a viable § 2255 claim. See 28 U.S.C. § 2255(f)(1)

(requiring a prisoner to seek relief from a sentence imposed by a federal court within one

year after the court’s judgment of conviction “becomes final”). While Defendant’s

claims are for the most part incognizable, it appears that Defendant generally challenges
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the imposition of his sentence. (See Doc. No. 193.) Specifically, when taken together

with his earlier filings, Defendant seems to dispute the legitimacy of the criminal

proceedings against him and seeks to “discharge” his “criminal and civil obligations.”

(See generally Doc. Nos. 190-93.) While Defendant requests his “immediate release,” he

provides no valid, legal basis for such relief; nor does Defendant raise any plausible

constitutional or other legal challenges to his underlying criminal conviction or sentence.

(See Doc. No. 193 at 2.) Therefore, the Court denies Defendant’s motion insofar as it

may be construed as a request for relief under § 2255. See 28 U.S.C. § 2255(a)

(permitting a defendant to move the sentencing court to vacate, set aside, or correct his

sentence on the ground that “the sentence was imposed in violation of the Constitution or

laws of the United States, or that the court was without jurisdiction to impose such

sentence, or that the sentence was in excess of the maximum authorized by law, or is

otherwise subject to collateral attack”).

II.    Evidentiary Hearing

       Based on the record before the Court, there is no reason for the Court to further

explore any credibility issues with respect to Defendant’s claims. A § 2255 motion can

be dismissed without a hearing if: (1) Defendant’s allegations, if accepted as true, would

not entitle him to relief; or (2) the allegations cannot be accepted as true because they are

contradicted by the record, are inherently incredible, or are conclusions, rather than

statements of fact. Delgado v. United States, 162 F.3d 981, 983 (8th Cir. 1998).

Applying that standard to Defendant’s allegations and the record before the Court, the


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Court concludes that no evidentiary hearing is required in this case. Defendant’s claims

are facially inadequate.

III.   Certificate of Appealability

       An appeal cannot be taken from a final order denying a motion under § 2255

without a certificate of appealability (“COA”). 28 U.S.C. § 2253(c)(1)(B); Fed. R. App.

P. 22(b)(1). A court cannot grant a COA unless the applicant has made “a substantial

showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(3).

       The Court has considered whether issuance of a COA is appropriate. See

Tiedeman v. Benson, 122 F.3d 518 (8th Cir. 1997). In that context, the Court concludes

that no issue raised is “debatable among reasonable jurists.” Flieger v. Delo, 16 F.3d

878, 882-83 (8th Cir. 1994) (citing Lozado v. Deeds, 498 U.S. 430, 432 (1991)

(per curiam)). Defendant has therefore not made the “substantial showing of the denial

of a constitutional right” necessary for the issuance of a COA. 28 U.S.C. § 2253(c)(2).

                                         ORDER

       Based upon the foregoing, IT IS HEREBY ORDERED that:

       1.     Defendant’s Motion for Stay of Confinement (Doc. No. [193]) is DENIED.

       2.     No evidentiary hearing is required in this matter.

       3.     No Certificate of Appealability will be issued to Defendant.

       LET JUDGMENT BE ENTERED ACCORDINGLY.


Dated: April 24, 2014                     s/Donovan W. Frank
                                          DONOVAN W. FRANK
                                          United States District Judge

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